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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

DOLWIN WHITE,                                §
                                             §
       Plaintiff,                            §
                                             §
v.                                           §          Civil Action No. 3:21-cv-00819-M
                                             §
BLUE APRON LLC,                              §
                                             §
       Defendant.                            §
                                             §
                                             §

                                         ORDER

       Before the Court is the Motion to Extend Deadline to File Dismissal Documents (ECF

No. 17), filed by Plaintiff. The Motion is GRANTED. The parties are ORDERED to file

dismissal documents by June 8, 2022.



       SO ORDERED.

       May 23, 2022.


                                          BARBARA M. G. LYNN
                                          CHIEF JUDGE
